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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                       Case No. 3:14cr106/MCR

NED J. ENGLISH
_______________________________/

                      REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.
R. Crim. P., and has entered a plea of guilty to Counts One through Three of the
Indictment. After cautioning and examining the Defendant under oath concerning
each of the subjects mentioned in Rule 11, I determined that the guilty plea was
knowing and voluntary and that the offenses charged are supported by independent
bases in fact containing each of the essential elements thereof. I therefore recommend
that the plea of guilty be accepted and that the Defendant be adjudicated guilty and
have sentence imposed accordingly.

Dated:       April 6, 2015



                                       /s/   Charles J. Kahn, Jr.
                                       CHARLES J. KAHN, JR.
                                       UNITED STATES MAGISTRATE JUDGE
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                                   NOTICE

       Any objections to these proposed findings and recommendations must be
filed within twenty four (24) hours after being served a copy thereof. Any
different deadline that may appear on the electronic docket is for the court’s
internal use only, and does not control. A copy of objections shall be served
upon all other parties. Failure to object may limit the scope of appellate review
of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d 698,
701 (11th Cir. 1988).




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